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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


     6RXWKHUQ
 ____________________                 1HZ<RUN
                      District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter _____
                                                                                                                                   Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                            2SHUDGRUDGHO*ROIRGH0p[LFR6$GH&9
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used              2*0
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                *32
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business
                                              3URORQJDFLyQ3DVHRGHOD
                                              5HIRUPD7RUUH$3LVR
                                              ______________________________________________               _______________________________________________
                                              Number         Street                                        Number     Street

                                              &RO6DQWD)H&XDMLPDOSD$OFDOGtD&XDMLPDOSD
                                              ______________________________________________ _______________________________________________
                                                                                                           P.O. Box

                                                  0H[LFR&LW\                 0H[LFR
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




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Debtor         2SHUDGRUDGHO*ROIRGH0p[LFR6$GH&9
              _______________________________________________________                            Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              
                                             ___   ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                                aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                            affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                           recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                            income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                              11 U.S.C. § 1116(1)(B).
      check the second sub-box.                             
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                 noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                 less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                 Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                 statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                 § 1116(1)(B).

                                                                A plan is being filed with this petition.

                                                                Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                 Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                 Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                 for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                 12b-2.
                                           Chapter 12




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Debtor           Operadora del Golfo de México, S.A. de C.V.
                _______________________________________________________                         Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases            No
       filed by or against the debtor
       within the last 8 years?               Yes.    District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY

 10.   Are any bankruptcy cases               No
       pending or being filed by a
                                             
                                             ■ Yes.            Grupo Posadas S.A.B. de C.V
                                                       Debtor _____________________________________________               Affiliate
                                                                                                            Relationship _________________________
       business partner or an
       affiliate of the debtor?                                  Southern District of New York
                                                       District _____________________________________________ When                10 / 26 / 2021
                                                                                                                                 __________________
       List all cases. If more than 1,                                                                                           MM / DD / YYYY
       attach a separate list.                         Case number, if known ________________________________



 11.   Why is the case filed in this         Check all that apply:
       district?
                                              Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                              A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have            No
       possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______ ________________
                                                                                City                                            State ZIP Code


                                                      Is the property insured?

                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




               Statistical and administrative information




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Debtor          2SHUDGRUDGHO*ROIRGH0p[LFR6$GH&9
              _______________________________________________________                          Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                    Funds will be available for distribution to unsecured creditors.
                                          ■


                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                              1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                             5,001-10,000                               50,001-100,000
       creditors
                                          100-199
                                          ■
                                                                             10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                        $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                  $10,000,001-$50 million
                                                                             ■
                                                                                                                         $1,000,000,001-$10 billion
                                          $100,001-$500,000                 $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                        $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                  $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                 $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               $100,000,001-$500 million
                                                                             ■
                                                                                                                         More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of      Q    The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                              petition.
       debtor
                                         Q    I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                          
                                              Executed on _________________
                                                          MM / DD / YYYY


                                         8    _____________________________________________
                                              ___
                                               __
                                               _____
                                                _ _______
                                                        ____________________
                                                         _               _ ___                            -RVH&DUORV$]FiUUDJD$QGUDGH
                                                                                                         _______________________________________________
                                              Si   t
                                              Signature off authorized
                                                              th i d representative
                                                                             t ti off debtor             Printed name


                                              7LWOH&(2




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Debtor          2SHUDGRUDGHO*ROIRGH0p[LFR6$GH&9
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                        8          V-DQH9DQ/DUH
                                            _____________________________________________            Date        
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                            Jane VanLare
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Cleary Gottlieb Steen & Hamilton LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           One         Liberty Plaza
                                           _________________________________________________________________________________________________
                                           Number     Street
                                            New York
                                           ____________________________________________________             NY
                                                                                                           ____________  10006
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                            212-225-2872
                                           ____________________________________                             jvanlare@cgsh.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            4610655
                                           ______________________________________________________  New York
                                                                                                  ____________
                                           Bar number                                             State




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                                          SCHEDULE 1

         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”), filed a
voluntary petition for relief under chapter 11 of title 11 of the United States Code in the United
States Bankruptcy Court for the Southern District of New York. The Debtors have moved for
joint administration of these cases for procedural purposes only under the case number assigned
to the chapter 11 case of Grupo Posadas S.A.B. de C.V.



1. Grupo Posadas S.A.B. de C.V.

2. Operadora del Golfo de Mexico, S.A. de C.V.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                  Chapter 11

 Operadora del Golfo de Mexico, S.A. de C.V.,            Case No.: 21-[ ]
 et al.,

                                 Debtors.                Joint Administration Pending



                          CORPORATE OWNERSHIP STATEMENT

          Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the

following are corporations, other than a governmental unit, that directly or indirectly own 10% or

more of any class of the Debtor’s equity interests:



                                                      Approximate Percentage of
                            Shareholder
                                                        Equity Interests Held


                   Grupo Posadas S.A.B. de C.V.                100.00%
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                         Chapter 11

 Grupo Posadas S.A.B. de C.V., et al., 1                        Case No.: 21-[ ]

                                     Debtors.                   Joint Administration Pending



                           CONSOLIDATED LIST OF CREDITORS
                         HOLDING FIVE LARGEST SECURED CLAIMS

                 The following is a list of those creditors holding the five largest secured claims

against the Debtors, on a consolidated basis, excluding claims of insiders as defined in 11 U.S.C.

§ 101(31), as of October 26, 2021. This list has been prepared from the books and records of the

Debtors for filing in the Debtors’ chapter 11 cases.

                 The information set forth herein shall not constitute an admission of liability by,

nor is binding on, the Debtors, nor shall it bind the Debtors or their estates as to the amount,

nature and status of any claim. Any amounts listed herein are estimated, on a preliminary basis,

and subject to verification. The Debtors reserve any and all rights to assert that any debt or claim

included herein is a disputed claim or debt, and to challenge the priority, nature, amount or status

of any such claim or debt. The descriptions of the collateral securing the underlying obligations

are intended only as brief summaries. In the event of any inconsistencies between the summaries

set forth below and the respective corporate and legal documents relating to such obligations, the

descriptions in the corporate and legal documents shall control.


1
         The Debtors, together with each of the Debtor’s tax identification number, as applicable, are: Grupo Posadas
S.A.B. de C.V. (GPO920120440), and Operadora del Golfo de Mexico, S.A. de C.V. (OGM8712127Z2). The location
of the corporate headquarters and the service address for Grupo Posadas S.A.B. de C.V. is: Prolongación Paseo de la
Reforma No. 1015 Torre A, Piso 9 Colonia Santa Fe, Alcaldía Cuajimalpa de Morelos, C.P. 05348, Mexico City,
Mexico.
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     Name of Creditor and              Claim Amount     Collateral         Estimated
     Complete Mailing Address                           Description         Value of
                                                                           Collateral
1.   Servicio de Administración        $11,212,121.21    Real estate       $8,800,000
     Tributaria
     Bahía de Santa Bárbara No. 23.
     Col Verónica Anzures, Alcaldía
     Miguel Hidalgo, C.P. 11300
     CDMX, Mexico
2.   Banca Mifel, S.A., Institución     $4,900,000      Cash deposits      $4,900,000
     de Banca Múltiple, Grupo
     Financiero Mifel
     Presidente Masaryk 214, Piso 2,
     Colonia Polanco Chapultepec,
     C.P. 11560 CDMX, Mexico
3.   Aseguradora Aserta, S.A. de        $1,748,000      Cash deposit       $1,748,000
     C.V., Grupo Financiero Aserta
     Bahía de Santa Bárbara No. 23.
     Col Verónica Anzures, Alcaldía
     Miguel Hidalgo, C.P. 11300
     CDMX, Mexico
4.   Restel, S.A.                         $50,000       Cash deposit        $60,000
     Calle Xaudaro 24, C.P. 28034
     Madrid, Spain
5.   Chubb Fianzas Monterrey              $43,000       Cash deposit        $43,000
     Aseguradora de Caución, S.A.
     Av. Paseo de la Reforma No. 250
     Torre Niza, Piso 7, Colonia
     Juárez, Cuauhtémoc, C.P. 06600
     CDMX, Mexico




                                          2
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    Fill in this information to identify the case:
    Debtor name: Grupo Posadas S.A.B. de C.V.
    United States Bankruptcy Court for the Southern District of New York
    Case number (If known): ______________
                                                                                                                                                                 &KHFNLIWKLVLVDQDPHQGHGILOLQJ

    Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
    12/15


    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an
    insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors (whether secured by assets of the Debtors or otherwise), unless the unsecured claim resulting from inadequate
    collateral value places the creditor among the holders of the 30 largest unsecured claims.

                                                                                                                                                         Amount of unsecured claim
                                                                                                                                                         If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                         amount. If claim is partially secured, fill in total claim
                                                                                                                                    Indicate if claim is amount and deduction for value of collateral or setoff to
     Name of creditor and complete mailing address, including      Name, telephone number, and email address of                                          calculate unsecured claim.
                                                                                                                Nature of the claim    contingent,
                            zip code                                             creditor contact
                                                                                                                                      unliquidated,
                                                                                                                                         disputed                              Deduction for
                                                                                                                                                         Total claim, if                             Unsecured
                                                                                                                                                                               value of collateral
                                                                                                                                                         partially secured                           claim
                                                                                                                                                                               or setoff

1   7.875% Senior Notes due 2022                                  Danny Lee, Vice President                           Unsecured Debt                                                                    $392,605,000.00
    Danny Lee, Vice President                                     Citibank, N.A. | Agency & Trust
    Citibank, N.A. | Agency & Trust                               388 Greenwich Street, New York, NY 10013
    388 Greenwich Street, New York, NY 10013                      (P) 212.816.4936 | (F) 347.632.8640
                                                                  danny1.lee@citi.com




2   Servicio de Administración Tributaria (Internal Revenue                                                           Unsecured Debt                                                                     $17,715,671.64
    Services)                                                                                                       (Tax Credits) March
    Bahía de Santa Bárbara No. 23. Col Verónica Anzures                                                               2022 installment
    Alcaldía Miguel Hidalgo, C.P. 11300
    CDMX

3   Servicio de Administración Tributaria (Internal Revenue                                                           Unsecured Debt                                                                     $17,715,671.64
    Services)                                                                                                       (Tax Credits) March
    Bahía de Santa Bárbara No. 23. Col Verónica Anzures                                                               2023 installment
    Alcaldía Miguel Hidalgo, C.P. 11301
    CDMX
4   SIGMA FOODSERVICE COMERCIAL S DE RL DE CV                                                                           Unsecured                                                                         $1,185,532.24
    Acueducto 610 Industrial El Lechugal
    Santa Catarina Santa Catarina
    Nuevo Leon, Cp 66378
    Mexico

5   PROMOTORA TORCAZ SA DE CV                                                                                           Unsecured                                                                         $1,023,012.74
    Monte Elbruz 124-201 Polanco
    Miguel Hidalgo Mexico
    Distrito Federal, Cp 11560
    Mexico
6   ACCENTURE SC                                                                                                        Unsecured                                                                          $678,661.88
    Blvd Manuel A Camacho 138 Piso 7 Lomas De Chapultepec
    Miguel Hidalgo Mexico
    Distrito Federal, Cp 11000
    Mexico
7   TRAVELCLICK INC                                                                                                     Unsecured                                                                          $598,479.77
    300 N Martingale Suite 500
    Schaumburg IL 60173
    US

8   BOOKING COM BV                                                                                                      Unsecured                                                                          $507,010.80
    Bp Amsterdam 1000 Amsterdam
    Amsterdam, NY CP 1639
    Amsterdam

9  ORACLE DE MEXICO SA DE CV                                                                                            Unsecured                                                                          $381,661.50
   Montes Urales 470 P B Lomas De Chapultepec
   Miguel Hidalgo Mexico
   Distrito Federal, Cp 11000
   Mexico
10 TELEFONOS DE MEXICO SAB DE CV                                                                                        Unsecured                                                                          $371,149.10
   Parque Via 198 Sta Maria La Ribera
   Cuauhtemoc Mexico
   Distrito Federal, Cp 6500
   Mexico
11 GRUPO POSADAS SAB DE CV-FACCG                                                                                        Unsecured                                                                          $367,539.79
   Blvd Kokulkan Km 16.5 Lote 44 Zona Hotelera Sur
   Cancun
   Quintana Roo, Cp
   Mexico
Debtor Name
                     21-11832-shl
                Grupo Posadas S.A.B. de C.V.
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                                                                                                        Case Number (if known) ______________________________________
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                                                                                                                                                           Amount of unsecured claim
                                                                                                                                                           If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                           amount. If claim is partially secured, fill in total claim
                                                                                                                                      Indicate if claim is amount and deduction for value of collateral or setoff to
       Name of creditor and complete mailing address, including      Name, telephone number, and email address of                                          calculate unsecured claim.
                                                                                                                  Nature of the claim    contingent,
                              zip code                                             creditor contact
                                                                                                                                        unliquidated,
                                                                                                                                           disputed                              Deduction for
                                                                                                                                                           Total claim, if                             Unsecured
                                                                                                                                                                                 value of collateral
                                                                                                                                                           partially secured                           claim
                                                                                                                                                                                 or setoff

  12 ACCENTURE SC                                                                                                         Unsecured                                                                          $246,870.13
     Blvd Manuel A Camacho 138 Piso 7 Lomas De Chapultepec,
     Miguel Hidalgo Mexico, Distrito Federal, Cp 11000


  13 NEKOTEC TECNOLOGIA SA DE CV                                                                                          Unsecured                                                                          $244,375.74
     Av De La Palma 8 6 Piso San Fernando La Herradura
     Miguel Hidalgo Mexico
     Distrito Federal, Cp 52787
     Mexico
  14 GALAZ YAMAZAKI RUIZ URQUIZA SC                                                                                       Unsecured                                                                          $235,488.63
     Paseo De La Reforma 489 Piso 6 Cuauhtemoc
     Cuauhtemoc Mexico
     Distrito Federal, Cp 6500
     Mexico
  15 TCA SOFTWARE SOLUTIONS SA DE CV                                                                                      Unsecured                                                                          $233,580.01
     Canada 415 Vista Hermosa
     Monterrey Monterrey
     Nuevo Leon, Cp 64620
     Mexico
  16 FIVEPALS INC                                                                                                         Unsecured                                                                          $231,813.22
     866 6th Avenue, 9th Floor
     New York NY 10001
     US



  17 SABRE GLBL INC                                                                                                       Unsecured                                                                          $217,490.96
     Sabre Drive 3150 Md 8510
     Southlake TX 76092
     US

  18 EL MAHARAJA DE LA RIVIERA SA DE CV                                                                                   Unsecured                                                                          $214,715.61
     Av Juarez Lote 9 Y 10 Ejido
     Solidaridad Playa Del Carmen
     Quintana Roo, Cp 77712
     Mexico
  19 AXA SEGUROS SA DE CV                                                                                                 Unsecured                                                                          $162,958.63
     Periferico Sur 3325 Piso 11 San Jeronimo Aculco
     La Magdalena Contreras Mexico
     Distrito Federal, Cp 10400
     Mexico
  20 HERNANDEZ SOLIS ADRIANA                                                                                              Unsecured                                                                          $161,468.64
     Jaca 6 Int 502 Santa Cruz Atoyac
     Benito Juarez Mexico
     Distrito Federal, Cp 3310
     Mexico
  21 GRUPO POSADAS SAB DE CV-AQCUG                                                                                        Unsecured                                                                          $157,972.94
     Blvd Kukulkan Km 13 Lote 258 B
     Zona Hotelera Cancun
     Quintana Roo, Cp 77500
     Mexico
  22 PLAYA MARINA FIESTA AMERICANA PUNTA                                                                                  Unsecured                                                                          $156,947.24
     VARADERO-CFAVA
     Punta Hicacos Final S/N Matanzas
     Varadero
     Matanzas, Cp 42200
     Mexico
  23 FRUTAS Y VERDURAS ZIRACUA SA DE CV                                                                                   Unsecured                                                                          $142,219.35
     Boulevard Flor De Pitahaya Mzn 21 Lt 8 Sn Brisas Del Pacifico
     Los Cabos
      Baja California Sur, Cp 23473
     Mexico
  24 GRUPO POSADAS SAB DE CV-FACAG                                                                                        Unsecured                                                                          $141,597.98
     Av Costera Miguel Aleman 97 Club Deportivo
     Acapulco
     Guerrero, Cp 39690
     Mexico
  25 GRUPO POSADAS SAB DE CV-FALCG                                                                                        Unsecured                                                                          $138,091.21
     Carr Transpeninsular Km 10.3 Cabo Del Sol, Cabo San Lucas,
     Baja California Sur, Cp 23410




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Debtor Name
                     21-11832-shl
                Grupo Posadas S.A.B. de C.V.
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                                                                                                     Case Number (if known) ______________________________________
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                                                                                                                                                        Amount of unsecured claim
                                                                                                                                                        If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                        amount. If claim is partially secured, fill in total claim
                                                                                                                                   Indicate if claim is amount and deduction for value of collateral or setoff to
       Name of creditor and complete mailing address, including   Name, telephone number, and email address of                                          calculate unsecured claim.
                                                                                                               Nature of the claim    contingent,
                              zip code                                          creditor contact
                                                                                                                                     unliquidated,
                                                                                                                                        disputed                              Deduction for
                                                                                                                                                        Total claim, if                             Unsecured
                                                                                                                                                                              value of collateral
                                                                                                                                                        partially secured                           claim
                                                                                                                                                                              or setoff

  26 JIANLU SA DE CV                                                                                                   Unsecured                                                                          $136,496.83
     Av Eje 6 Nave 1 Local A23 Ejidos Del Moral, Iztapalapa
     Mexico, Distrito Federal, Cp 9040



  27 PLM PREMIER SAPI DE CV                                                                                            Unsecured                                                                          $134,998.02
     Av. Paseo De La Reforma 445 Piso 9 Cuauhtemoc
     Cuauhtemoc Mexico
     Distrito Federal, Cp 6500
     Mexico

  28 DATAVISION DIGITAL SA DE CV                                                                                       Unsecured                                                                          $113,193.91
     Avenida Patriotismo 48 Piso 6 Escandon
     Miguel Hidalgo Ciudad De Mexico
     Distrito Federal, Cp 11800
     Mexico

  29 ECODELI COMERCIAL SA DE CV                                                                                        Unsecured                                                                          $111,562.11
     Av Restauradores Ote 1001 Int 2 Fracc Los Arcos
     Leon Leon
     Guanajuato, Cp 37490
     Mexico
  30 IBS SOFTWARE AMERICAS INC                                                                                         Unsecured                                                                          $110,691.31
     Circle 75 Parkway 900, Suite 550
     Atlanta GA 30339
     US




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